       Case 5:20-cv-00988-JKP-ESC Document 61 Filed 11/09/21 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION


JAMES R. BLACKMON, JUSTIN M.                      §
ROZELLE, ERIC A. MYERS, JARED                     §
MUNSON,                                           §                 SA-20-CV-00988-JKP
                                                  §
                     Plaintiffs,                  §
                                                  §
vs.                                               §
                                                  §
ZACHARY HOLDINGS, INC., CHIEF                     §
EXECUTIVE OFFICER OF ZACHARY                      §
HOLDINGS, INC., THE                               §
COMPENSATION AND BENEFITS                         §
COMMITTEE OF ZACHARY                              §
HOLDINGS, INC., JOHN DOES 1-10,                   §
WHOSE NAMES ARE CURRENTLY                         §
UNKNOWN;                                          §
                                                  §
                     Defendant.                   §



                        ORDER CANCELING STATUS CONFERENCE

          Before the Court is the above-styled cause of action, which is set for a telephonic status

conference on November 10, 2021. On November 8, 2021, the parties filed a Joint Status Report

[#60], informing the Court that they have reached an agreement in principle to settle this

litigation.   The parties request that the Court cancel the status conference in light of the

settlement and propose a deadline of December 8, 2021 for Plaintiffs to file their dismissal

papers.

          IT IS THEREFORE ORDERED that the status conference set for November 10, 2021,

at 11:00 a.m. is CANCELED.

          IT IS FURTHER ORDERED that the parties file a stipulation of dismissal on or before

December 8, 2021.



                                                  1
       Case 5:20-cv-00988-JKP-ESC Document 61 Filed 11/09/21 Page 2 of 2




        IT IS FURTHER ORDERED that all current deadlines and settings are VACATED in

light of the settlement.

        SIGNED this 9th day of November, 2021.




                                         ELIZABETH S. ("BETSY") CHESTNEY
                                         UNITED STATES MAGISTRATE JUDGE




                                            2
